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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

In re:                                                     )
                                                           )       Case No. 18-09243-JJG-11
         SCOTTY'S HOLDINGS, LLC,                           )
                                                           )       (Jointly Administered)
                                                           )
                         Debtor(s).1                       )

                                        NOTICE OF MOTION

       PLEASE TAKE NOTICE that on April 10, 2019 the above-captioned debtors and
debtors-in-possession (the "Debtors"), filed their Omnibus Motion (Second) for Entry of an
Order Authorizing and Approving the Rejection of Certain Unexpired Leases and Executory
Contracts Pursuant to 11 U.S.C. §365 (the "Motion").

        As described in more detail in the Motion, certain of the Debtors seek entry of an order
authorizing and approving the rejection of certain unexpired leases of nonresidential real
property and certain executory contracts and fixing a deadline for filing any claims arising from
such rejections.

    EACH PARTY TO A CONTRACT OR LEASE SOUGHT TO BE REJECTED
THROUGH THE MOTION WILL FIND HIS, HER, OR ITS NAME AND RESPECTIVE
CONTRACT OR LEASE LISTED ON EXHIBIT B TO THE MOTION.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
read this Notice carefully and discuss it with your attorney, if you have one in these
bankruptcy cases. If you do not have an attorney, you may wish to consult one.

        PLEASE TAKE FURTHER NOTICE that, if you do not want the Court to enter an
order granting the Motion, or if you want the Court to consider your views on the Motion, then,
on or before April 17, 2019 you or your attorney must file with the Court a written objection
explaining your position. If you mail your response or objection to the Court, you must mail it
early enough so the Court will receive it on or before the date stated herein.



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         The Debtors include Scotty's Holdings, LLC, Case No. 18-09243-JJG-11; A Pots & Pans Production, LLC,
Case No. 18-09244-JJG-11; Scotty's Thr3e Wise Men Brewing Company, LLC, Case No. 18-09245-JJG-11;
Scotty's Brewhouse, LLC, Case No. 18-09246-JJG-11; Scotty's Brewhouse Bloomington, LLC, Case No. 18-09248-
JJG-11; Scotty's Brewhouse West Lafayette, LLC, Case No. 18-09250-JJG-11; Scotty's Indianapolis, LLC, Case No.
18-09251-JJG-11; Scotty's Brewhouse Downtown Indianapolis, Case No. 18-09252-JJG-11; Scotty's Brewhouse
Mishawaka, LLC, Case No. 18-09253-JJG-11; Scotty's Brewhouse Fort Wayne, LLC, Case No. 18-09255-JJG-11;
Scotty's Brewhouse Carmel, LLC, Case No. 18-09256-JJG-11; Scotty's Brewhouse Butler, LLC, Case No. 18-
09257-JJG-11; and Scotty's Brewhouse Waco, LLC, Case No. 18-09258-JJG-11.



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        Those not permitted to file papers with the Court electronically must deliver any
objection by U.S. Mail, courier, overnight/express mail, or in person to 116 U.S. Courthouse, 46
East Ohio Street, Indianapolis, IN 46204.

       PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
must also be served (A) upon the undersigned counsel for the Debtors, so as to actually be
received by or before April 17, 2019 and (B) as provided in the Case Management Order entered
by the Court.

       A copy of the Motion and of the Case Management Order may be obtained, free of
charge, from undersigned counsel or from the case website maintained by Stretto (formerly
known as JND Corporate Restructuring) at https://cases-cr.stretto.com/scottys-holdings?r.

     PLEASE TAKE FURTHER NOTICE THAT, IF AN OBJECTION IS PROPERLY
FILED, A HEARING ON THE MOTION WILL BE HELD AS FOLLOWS:

        Date:                               Wednesday, April 24, 2019

        Time:                               1:30 P.M. (EDT)

        Location:                           Birch Bayh Federal Building and United States Courthouse
                                            46 East Ohio Street
                                            Courtroom 311
                                            Indianapolis, IN 46204

        Telephonic Appearance:2             1-877-848-7030, Access Code 8891756

        PLEASE TAKE FURTHER NOTICE that, if you or your attorney do not take these
steps, the Court may grant the relief requested in the Motion without a hearing.

DATED this 10th day of April, 2019. QUARLES & BRADY LLP

                                                By: /s/ Isaac M. Gabriel
                                                    Isaac M. Gabriel (AZ Bar No. 021780)
                                                      admitted Pro Hac Vice
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                                                    christopher.combest@quarles.com
                                                    Special Counsel for Debtors

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         Please note that, although telephonic participation is generally allowed, parties appearing by telephone may
not present evidence, examine a witness, or cross-examine a witness.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2019, a copy of the foregoing Notice of Motion was
filed electronically. Notice of this filing will be sent to the following parties through the Court's
Electronic Case Filing System. Parties may access this filing through the Court's system.

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                                               /s/ Isaac M. Gabriel
                                                   Isaac M. Gabriel


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